         Case 5:20-cr-00273-JKP Document 244 Filed 10/06/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
UNITED STATES OF AMERICA                        §
                                                §      CRIMINAL NO:
vs.                                             §      SA:20-CR-00273(2)-JKP
                                                §
(2) ELIA SANCHEZ                                §

                         ORDER SETTING SENTENCING
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for
SENTENCING in Courtroom 4, on the Third Floor of the John H. Wood, Jr. United States
Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX, on Thursday, January 13,
2022 at 02:00 PM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 7th day of October, 2021.




                                                ______________________________
                                                JASON PULLIAM
                                                UNITED STATES DISTRICT JUDGE
